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                        EXHIBIT 01
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                               IN TJIE CrncurrCoUR Tt)f"l l1E STAT£ OF OREGON
                                FORTIIECOUNTYOI' _\ACKSQN _ _ _ __

             IIEIDI M, BROWN                                    • Case No:~ 24SK01646c.__ _
                                              Petitioner

                                                                     TEl\lPORA RY ORDER ON
                        J Filed by Guardian ad lilcltl               PtTITION/ CITATION FOR
               V.                                                    STALKING .J>JlOTtCJ'IVE
                                                                             ORDER
              ARN,\UO rAI<lS
                                            Respondent

                                        JW'.l.lCE TO RESPONDE NT
                                        Rc,icw this order carefully
  •   You must obey all provision/or this Protective Order. even ii Petitioner contatlsyou or gives
         you pcnnission to contact them
  •   You must appear personally in lhis court al the dale and time shown on the Order to Show
         Cause or a warrant may be issued for your arrest
  •   You may he arrested and subject lo civil and criminal penalties if you ,/4olate this order
      This order is enforceable an}where iu Oregon and in every other stale

  This matter came before the comt on (date):         ~~C q· by'fA!'etilion O Citation
  TnE cou1rr FINDS:
 JZl Probable cause exists togranl a Temporary Stnlking Protective Order. This Order is in effect
( until further order oft he court.

  THE COURT OltDERS:
  The Petition or Citation for Stalking Protective Order is:
            □ DENIED
               0 Petitioner did not appear
               0 Petitioner did not eslHblish a claim for relief
               0 Other:
            f1J GR_A.NTE~. "Respondent is prohi.bitet~ from conlncling Petitioner or Petitioner's
            1mmedmte forn1ly or household members directly or through another person.

  "Contact" includes but is not limited lo:
      ►     coming into tlic \'is;ual or physiral prt'scnce c1f Pctitioner
      ;.    follm,ing Petitioner
      ;..   waiting outside lhe- h~)me, property, place o{ w,::irk or st:hool of Petiliont~r or of a member uf
            rctiLfoner-'s family or household (upn'onal: list specific uJdr;}~sm; or locntions ycm wartl included)




  Tcmpor.u:,· Order·· SL.1.lkin1t                                                       O.lD Orr1cu1,
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    ►   sending or making written or electronic communications in any form to Petitioner
    ►   spcaking_witf1 Pe.litioncr'by <'tnY means
    ►   communicating ,\ith Petitioner through a third person
    ►   committing a crime against Petitioner                                    _
                                                                                                       of
    ►   communicating \\ith a third person who has some relationship to Petitioner "-ilh the intcnl
        affecting the third person's relationship with Petitioner
    ►   communicating with business 011tiJics with the. intent of affecting some·rigbt or interest of
        Petitioner
    ►   damaging Pclilioner's home, property. place of work or school                                   or
    ►   dcli\'.Cring direclly or throngh a third person any object lo the home, property1 place of work
        school of Petitioner
                                                                                                       7 or 9
    ►   sen·icc. of process or other legal documents unless Petitioner is served as provided in ORCP
                                                                                 d
NOTE: This Order does not prohibit Respond ent from appcnt·i ng .at any schedule
court nppcar•l nccs in lhis case
                                                                                _
Other orders/exceptions: ____ ____ ____ ____ ____ ____ _




 Judge Signature:




 Certificate of Rea<liness
 This proposed order is ready for judicial signature because service is llot required under UTCR
                                                                                                 5,100

 because: this order ,ti submitted c.x pnrle as allowed by stamre or mle


 Subm; •,; • i:_~~on er □ Gun,Jt:;;; ad !item for Petitioner ~ - - -

 Date   J-                                        Signat llre

                                                  _-.=::. _+J,e} J;.
                                                  Name (prinlcd
                                                                                11. Bra,,w,
 _ad5 .G;,_ f\bb\ \--8.i .1L-~       Dl(..3'f5-"1Q
 Contact Address          City, Siad. ZIP




 Temporary Order - Stalking
 Page2uf2




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                                     SERVICE INFORMATION
      •nThe Respondent will receive a copy of this inforn1ation••...
 If you do not want Respondentto know your residential address or phone number, use a
 contact address in the stale where you reside or a contact phone number so the court a_nd
 the sheriff can reach you if necessary. Check for mail at this address frequently. The court
 will assume that_you receive.all notices sent to your contact address.

J'ETITIONER:(NameJ _,_H'!cE;!.'ll!!ll~M'-'.-"'B~R~O~WccN~_ _ _ _ _ _ _ lli] Female O Male O Nonbinary

  2256ADDOTT 1\VE.. ASHLAND.OR 97520
 •••Residence/ContdCt Address (Use a safe address):•••                Street, City, Statc 1 ZIP

 Contact Phone Numbcr....::.5•.:;lc.•6::9:::0.:;•2:::00::0:__ _ _ _ _ _ _ _ (Usc safe contact number)

 Age    42        Race/Ethnicity      WHn·E                   Height 5"9"'         Weight         i551bs

 Eye Color BLUE                    Hair Color BLONDE

 RESPONDENT: (NameJ......:A.:;R.,,N.;:.A;;Uc:Oc..P:..:~:..:R:..:IS'-------- □ Female Ix] Male O Nonbinary

 Residence Address       13 RUE FERDINAND DUVAL, 75004 PARIS. FRANCE
                                                                                                             County
 Phone Number        (373)4Q4-2BSS ±3368828364!
 Age _.c,4e,6___Race/Ethnidty          Wh1_1o,._ _ _ _ _Heighl           6'0"            Weight         175lbs

 Eye Color _.,cB,,lu"e_ _ _ _ _ Hair Color ___,De,r=.o'~'"~---
----------nwEru.LouTruffimFORMAnoN _________ _
                    TO HELP WITH SERVICE OF THE RESTlWN!NG ORDER

 Where is Rcspo'ndcnt most likely to be found?
 G1 Residence          Hours _8am.:...lllpm_ Addres.,; qbove
 D Employment          Hours _ _ _ _ _ _,.ddrcss on CTFJo,-m
 D Oihcr:              Hanrs _ _ _ _ _ _,Addrcss _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 Description ofVchidc             unk,~'°"''"'"'-'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 ls there an}'1hing abot11 the Respondcn1's character, p:ist behavior, or the present situation that
 indicates that Respondent may be a danger to self or other$? (E.tplm'n): - - - ~ · - - - - - -
 _n~ntlc.nLlw...ti:c.cntl)'..i.ncrt'll.SclJUurllllu:d.tarua.c.LS...lncludillg.J:Otlta.ClS..nOUU~hc..coun..o1J ~


 Docs Respondent have any wcnpons, or access lo weapons? (E.l.':plain}: _ _ _ _ _ _ _ _ __
 ..R.t.sµ.,odccl j5 ao A1uuic:1n. d!i1.l!ll.ll.rui.1mu.Wlic..."1.hlrJil...{1W'~.t.apon.._ _ _ _ _ _ _ _ _ _ _ __


 Has Respondent ever been oirrcsh:d for or convicted of a violent crime? (Explain):. ______
   Unknown·                                                                                         -




 Ci\;I Stalking - Sen'lcc Information                                                    OJD OFFJCL\L
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                         IN 11IE CIRCUIT CoURT OFITIE STATE OF OREGON
                                   FOR'Jlffi CouNTY OF JACKS ON
                               100 S. Oal<dalc Ave, Medford Oregon, 97501

                                                        Cnsc No:    24SK01646
--8-"e"""i""'J,1,,_' __,1\~.'--':B..ro w~ Petitioner
                                                          ORDE R TO SHOW CAUSE re:
 v.                                                         STALKING PROTEGrJVE
                                                                   ORDER
                                       Respondent


                                                                            isted Respondent and
  A temporary Stalking Protective Order has been issued against the above-l
  is eurrcntly in effect.
                                                                              time below to
  Both parties are ordered to appear Ill PERSON in this court at the date and
  explain whether the temporary order should be made permanent.
                                                                          Protective Order   may
  RESPONDENT: Ifyou do not appear at the hearing,.a permanent Stalking
  be entered against you.
                                                                         your case and
  PETITIONER: If you do not appear at the hearing, the court may dismiss
  terminate (end) }'Our temporary Stalking Protective Order.


   Date:,


  Time: --'-'/,_,·?:..:.?':___ __


      Location:     1008. Oakdale, Medford, OR, 97501



      Additional Information:




                                         5/z/z!.f




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                               I_




                                                          IE OF OREGOU
                          IN THE CIRCUIT COURT OF THE STA
                                   FOR TI-iE COUNTY OF JACKSON


                                                      )
                                                      )                 24SK01646
                                                      )   Case No.:
                                                      )
                                                      )   NOTICE OF FILING OF                                  ~
                                                                                             IF)
     and                                              )   0 CONFIDENTIAL lllFORMATION FORM-(C
                                                      )   0 AME NDE  D CIF
                                                      )    (StaWJng)
                                                  '   )
               D Rcspondenl ,



                                                           tion Fon n Has Bee n File d
                    NOTICE: Con fide ntia l Info rma                                     ng cases place
                                                  2130 requires that parties to s\alld
     •     Uniform Trial Court Rule (l/TCR)                                       when  such  information
                                                 es and other parties in a CIF
           certain infonnation about themselv
                                                  the court_
           is required in a document filed with
                 CIF is notavailabla for public insp ection except _as authorized by law.
     •     The
                                                    contains informalion aboutlhem.
            Parties ere allowed to s_ee a CIF that                                        party must ask
                                                    contains information about another
            A party who wants to see a CIF that                                the procedur es set out in
                                                     otlier party by follow!ng
            for permission from !he court or !he
            UTCR2130.




I am the (chec_k one box):
lji!lPetitioner D Respondent
                                                                            parties to this case
                                      ns with the court about the following
I filed Confidential Information Fon
                                       whom you have tilled out a CIF):
(complo_te a section foroach party for

1)       Name (Lasl,r Flrs~ Middle):              PJ{o <JJ f\ I ~~&ch ., \MtiQ.
                                       t-- ~- -~ ~; -,, ... == -> r~
                                                                     -~                                ~- --- -
     _)/J  Petitione D Re sp on de "'n

                                               ained in CIF (check all that apply):
         Confidential Personal Information cont

         f!1partys dale of blr',h                                      and lele?hone number
          [f1 chn<Jren's. dale of t,irth, D e,:nployets name, address,




                                                          TAL KIN                             G Peg: l of2
                            NTIAL ll\1'0Rll!ATION FOR M-S
 NOTICE RE: PILmG.OF CONFIDE
 ( S ~ &l.i016)




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                                      ..!.Jf.i_,..v,.,;i,__5.,_+J.f\r
                                                                                                    ~----
                                                                     __._~f\;;;Cc"'"'-"""'c\,'--_ _ _
     Name (Las~ f;ifS~ Middle).'_---~.                            1
2)
     D Petitioner IN Respondent                                                     ly):
                                  tion contain         ed in CIF (check all that app
     Confidential Personal Informa
                                                                                     ber
                   e of bi'1h
      ~a rlf s daldale                                    ruldress, and telephone num
      0 children's      of birtll, fl:.} employer's name,




                                                                 FORJ\l -S TAIJ {lN GP                  ,ge 2 oi2
             T RE : 1'1LING OF COliFlD!OfTIAL J1'"1'01Th1ATIO:-'
        NOTIC
        (~ 1J 20 !6 )



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                                  IN Tl!B CIRCUIT COURTO FTIIEST ATE OF OREGON
                                     FOR TIIE COUNTY OF JACKSON

                                                                              Case No:_ 24SK."'-01_6~46_ __
            HEIDI M. BROWN
                                                      Petition er
                                                                                  PETIT! ON FOR STALlfIN§_;
                         0   Filed by Guardian ad ]item                             PROTECTIVE ORDER ?-~
                                                                                                                 "C: ••
                V.                                                                                                              ~
                                                                                                 Bxpart c
             ARNAUD PARIS
                                                   Respondent

        ►   I need an interpreter: D Spanish □ ASL D other:_ _ _ _ _ _ _,_~-)n//                                      .,,\l ;. {,
    .---- ----- ----- ----- ----- ----- -·-1, :;yt- -fO: :.,,.·_.J_.....,o
                             NOTICE TO J>ETITIONlIB      i(                                                               I'•

                                                                                                     ent to
            ►      Cor,tac l'Addrc ss and Tclcpho rie Numbe r: Jfyou don't want the Respond
                                                                          a contact  address and telephon e
                   know your re.si<lenlial address or phone number, use
                   number so the court and the sheriff  can reach you if necessar y.


    I am the Petition er. I declare that the following information is true:
>
       ·1. Residen cy
        I live in the county of_~JA =C~l<= S=O~N ------~ state of OREGON
        Respondent lives in the county of   PARIS               e-!tlte of FRANCE


        2. Age of Parties
             Petitioner:        ·"4""2_ _ _ __                 Respondent: ..c'o,16,_,_ _ _ __
                                                                                             and
        3. Contac t - \\l'itbin the past 2 years the Rcspondc::nt has engaged in repeated
           unwante  d contact   with me  or a member   of my immc<li  ale family  or  househo ld• by
                                                                 the most   r-ecent. Include who   was
           (describe the incidents of contact beginning wit/,
            contacte d.):

                     a~ Date and approximale time: Mondi!" Apfil 22, 2024 nl -~1- ..fS' [_ _
                                                                                             _
                                                                                       _ _ _ _ _
                        Location: --'P'-'l",o~n,,,c_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                        Descript ion: Mc P•1cis coarat1rd C001c...S.m£h.ild...Jnj;..dltgj,..:i!Jpi;o·i:s-ar at 1hc rnmoanv ,,-bcrr_J_
                                                                                                                     judgm~nr in c.,sc
                         ::Im ,mplo.\'cd. Contnc:ll11g. mv cmplo)'cr has been ~tried,· pro:hihired J?ff 1hc r,cnccil
                                                                                                                   iu ORS 107.154
                          nurnb<:r: 22DR 17285. Addi1ionully, Mr. Paris was slrippcd t•f the iighrs-prorided

                        .int!lldinµl1c.r¼hl-mJ;nm,:Jllµlddm,.audo<JbLJ:u,mdiol 1na•n1 _1h<J,. dd[J:s.,
                                                                                                       _Q[~C\ ;i~                        1.
                                                                                                  _ _ _ __
                     h. Date an<l nppro:xirnate time: ~,.foml:i,. Apnl 1i.. 2024 aJJ;AQp.ill_ _ _

                                    C.CC------·-------------
                        Location: - 11mne

                                                                                                              rcnts, stepparents,
    '\"our parents, chlhlrcn, sibling~, spous~~ or Registered Domestic Partner, g.rnn<lp,1
    nnd stepchildren, or anyone lh'ing in the smue r~ide:ncu as )'011

    Civil S1n.1Jdng J'e1ition                                                                           0,JD 0FFIClAL
    r.ige 1 of·•




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                    Description: _kJr Pan!': ha,; repe.J\cdl\' .iucmptcd 10 conta~L!.h.~dc cn's "0Jndmo1hcr Mar0 arc1

                       BrownOl,on.        ful..J.,. ,_,-"-'\- -'---2=- --------- --------


               c. Date and approximate time:                     Tue Al!Lll....2!ll:~4~aul8~·"0~5A=M,_______ ___
                    Location:          Phone, Belh•icw Elcmc111;ny School, Ast.land, OR

                    Description: Mr. Pnris contacted Bell view Elcmcn,an· School to learn if,1hechjldrcn arc
                     in;anendancc tl1cre. Per the general judgment in case number: 220Rl7285, Mr, Paris no longer has
                     lhc rights provided in ORS 107.154, which includes tile righ1 to "To inspeci and rc<.eivc u:hool records

                     ;md to consuh wi1h school s1aff concerning the child's welfare _nnd cduc:i1ion".         'G~ i. \- '3
               d. Date and approximate time: "A~ug~"-s_lis_,~p_rc_m_b_c_ro_f_2~02_2_ _ _ _ _ _ _ _ _ _ __
                    Location:           Ashland OR
                    Description:          Mr. Paris hacked my personal compuic.r. my_~rsonnl cmoil 3nd my Confidcnli.d legal

                     crntiils and placed n tracker on m)· cnr illcgall)•· Sei: c-nse number:: 22CRS9524




                    D Additional page attached
    4. Respondent knew or should have known that the contact was unwanted because:
          Thero is a court order in pince prnhihiting bis contac.1 with rhr: r:hildren''i school 'DS wdl ns wilb ID)' cmplo:,,cr
         _Ihc 2cncml iud 0 men1 CftSC number is 22D817285, Regarding !hC (ffitkcr Ort IDY car :md the hackin" nf mv
          pCrsona1 compu~er1 Mr. Paris licd.::ibou1 both incidcnls rifo:r 1hc foct, and h,:d mullijllc pcrson:11 computers of
          his QWn al    ttr r:i   i   ( me,


    5. Respondent's contacts made me afraid for my physical safety, or the safety of my
       immediate family or a member of my household, because:
         Mr. Pnris h:is :1 his1ory of viola1im:; court orders and criminallv remm·in;? my children from· Oregon and 1hc US

         {sec ca:sc·number 22DR 17285). His mtcmpts m learning my loca1io11_ 11s wdl as lhc·childrcn's loc:uion
         h:1\"c m:idc me ttfrnld for my physit..ll s;ifcly as well as dial of my children, whether lhough:\'iolcnce or u new

        au~mpr nl cJiild abduciioo,




    6. [hl Respondent made spoken or written threats directed at me thnt made me afraid oi
        physical harm
        (explain why you believe the threats would result in physical harm, including any
        acts that wpport your belief or show that Respondent is likely and able to carry out
        the rltreat)


                                                                                                   OJ D OFFICIAL
Civil St.!lking Petition
                                                                                                   1J,H1 ..:v•M•J
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           Mr. Paris has aucmpled 10 know Ill)' whereabouts and 1hc c.hildrcn's locnticm through diffcrcnl contacts.

           Mr. Paris h:is bcCn ordered by the Jnckson Couniv Oisulcl Cou,1 l<l submit to scvcrul psychological c,·aluntions

           H~ cnn\inocs 10 demand the childrrn and hl'I~ 11l,d11ctcd !hem in 1hc p:isl,




     7. Firearms
         l have the following relationship with Respondent (check all that apply):
           D spouses or Registered Domestic Partners (current or former)
           D cohabitants( currenl orformer)
           Ix! unmarried parents of a minor child
           0 sexually intimate relationship (current or former)
           D adults related by blood or marriage
           D The RcspQndent has firearms (or has easy access to firearms)
           D The Respondent is already prohibited from possession or purchase of firearms or
          ammunition                                               •

      8. Additional Relationship lnfonnation (This information is optional. You do not have
         lo tell the court what your relationship Co Respondent is. l'our restraining order will
         not be denied if you choose not to provide relationship infonnarion.)
         Rcsponden t is my:
                  D family member D roommate/cohabitant D landlord O neighbor
                  D other: _ _ _ _ _ _ _ _ _ _ _ _ __
      9. Existing Restrainin g and Stalking Orders
         0 There is a current restraining order or stalking order between Respondent and me
         Count)' and state: - - - - - - - - - - ~ - C a s e # :_____ ______
           County and stale: _____ _____ __ Case c: _____ ______

 I ask the court to grant a Sl;tlking Protective Order

 I h~rchy -declare f:11:;;t'tll~ ab~~'C statcn1cnts arc true to the best of n1y knowledge
 and belief. I understand they are made for use as evidence in court and I am
 subject lo penalty for perjury.

 Submitted by Ix] Petitioner D Guardian ad !item for Petilioncr O Al~• for Petitioner


 Dale
          MO\ I ZOZ•I
                                                           ~~--
                                                                       Al          J      /4 ,--=== =-----
                                                                         llcid1 M, Brown
                                                            Name (printed)

   2256 Ahbon A\·c_                               Ashland, On 97520
 Cont.1ct ,\ddrcss (use 1l S,\PE (Jdd,,....ss)    City, St~te, ZIP                 Conli1c1 Phone (use t1 SAFE nurnbrr)

 Civil Stalking. Petition                                                                        0.JD Ol'FlCIAI.
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 ..-\ttorncyfor Petitiofler:


 Date                                         Signature


 OSB#                                         Name (printed)


 Address                               City, State, ZIP                     Phone




 Ci\•il Sl.alkirig Petition                                          OJD OFFICJAL
 P::ig('. 4_ of 4




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                                                                     Heidi Brown -=h.brown@inspoctiongo.com>




Call from Arnaud Paris
                                                                                    Mon, Apr 2~. 2024 at 9.35 /,M
Colcsto Starchild <celestc@inspedtongo com>
To' Heidi Brown -=h.brown@inspectiongo,com>

  Heidi,
  I received a call from Arnaud Paris on April 22 al 5:1 Opm EST. My underslanding is !hat he is nol allowed
  10 conlact me as your supervisor or anyone else associaled wllh lnspectlonGo, lhe company where you
  are currenlly employed.

  He proceeded to ask me questions about you, and your whereabouts. Per employee confidentiality
  concerns. I did not respond, but given the court order you shared with me, I thought you should be aware.

  Besl,
  Celesle


                     Celeste Starchild
                     President & COO
                     celeste@inspecliongo_com
                     301-233-1336



            inspt:cllongo.corn




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       8:35                                                     LTE .-.




   Chats
       rs        Archived

                 +33 6 88 28 36 41                             h,:ondr.,·y
   ~
                 \; rv1i~.sec 1 voice cal;
   \·: j(
                 Eric Olson                                    t;/1ll/24
                 'I,;' Voice call


                 WhatsApp,:;,
                 L~G Prolect h;;cl-rnd i!'.--'


                 AS Efficient exchan... n.Ji2/2tJ.
                 ~Emi1y Ann,:;r!.~on: :\;ow
                                                   1
                 ~-;_iii tht1 ··rat1ln.g s01 t1,vsre. ...


                 Dorise Treiger
                 ~ rv\isscd voice call



                 Keira Sumner Au pai... 4/11/2l'l

     ~ Thanks lor cve,ythlng
                 Mike Coffelt                                  £1/10/24
     ;i5,
     ,_              ~~
                                    :;Co
                                   ,·'-"'_:;;~~        •f'          (8
    l.';>~1'•'        ..
                     :., ;     ,;, 'ff',;., \,p;       Ctall       :,,-1-h,




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                                                                                               l-lcid! Brown <hoidimparis@gmail.com>



     Bellview School
     Meg Wright <Meg.Wrighl@ashland k12.or us>                                                                  Tue. Apr 23, 2024 at 8 051\M
     To· ''heidimparis@gma1l.com" <heidimparis@gmail com>


       Heidi,

       I wanted to let you kna,.., lhat Arnaud called yesterday. asking if lhe girls are registered. I told hun I couldn't give him that
       information, and he wasn't very happy, but that's fine with me,

       He did leave Christine a voice maiL Even though lhc gi1ls aren't reg1slered. Christine would hke a copy of the legal
       documenls, just so we are covered

       Thank you

       Meg




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l'




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